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IN THE UNITED STATES DISTRICT COURT 05 gu _ ` `
FOR THE WESTERN DISTRICT OF TENNESSEE JUYZ? PH J".
WESTERN DIVISION

   

 

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EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION and CONSTANCE AMOS

Plaintiffs,
No. 00-2923 Ma/A
AUTOZONE, INC.,

Defendant.

 

ORDER DENYING PLAINTIFF EEOC'S MOTION TO BIFURCATE

 

Before the court is plaintiff Equal Employment Opportunity
Commission's (the “EEOC”) “Renewed Motion to Bifurcate the Issues
of Liability and Individual Relief During the Trial of this Case,”
filed on September 2, 2004. Defendant AutoZone, Inc. (“AutoZone”)
filed a response on October 12, 2004.

The EEOC’s “renewed” motion to bifurcate is its second motion
requesting bifurcation of the issues of liability and compensatory
damages in this case. The EEOC filed its first motion to bifurcate
these issues on October 22, 2001. The court denied the earlier
motion, in an order dated February 25, 2002, stating:

With respect to the motion to bifurcate the issues of

liability and individual relief, that motion is

premature. After discovery is concluded, the Court can
evaluate the manner in which the case should be tried and

make an appropriate resolution of the bifurcation motion

in connection with final pretrial preparation. The EEOC
may renew this motion after the close of discovery.

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February 25, 2002, Order Denying Bifurcation, at 2.

The EEOC filed this renewed motion to bifurcate on September
2, 2004, when the discovery deadline in the suit was February 23,
2005. Consequently, when this “renewed” motion was filed, it was
still premature.

For the foregoing reasons, plaintiff EEOC’s motion to

bifurcate is DENIED.

so oRDERED this °'"M`day of June 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

STATES DISRTICT oURT WER 1

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 236 in
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Honorable Samuel Mays
US DISTRICT COURT

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